JS 44 (Rev. 10/20)                                     CIVIL
                                     Case 1:24-cv-00021-CB   COVER1-1
                                                           Document SHEET
                                                                      Filed 01/23/24 Page 1 of 3
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       Robert Greene, Second Amendment Foundation
                                                                                                          Merrick B. Garland, Steven M. Dettlebach, Christopher
                                                                                                          Wray, United States of America
    (b) County of Residence of First Listed Plaintiff              Warren                                County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

       Adam Kraut, Second Amendment Foundation, Second
       Amendment Foundation
       12500
II. BASIS    OF N.E. Tenth Place (Place an “X” in One Box Only)
                 JURISDICTION                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                          (For Diversity Cases Only)                        and One Box for Defendant)
       Bellevue,
  1 U.S. Government
                    Washington 98005
                            3 Federal Question                                                     PTF DEF                                    PTF      DEF
       1-800-426-4302
      Plaintiff                 (U.S. Government Not a Party)       Citizen of This State            1   1 Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

✖ 2    U.S.Joshua    Prince, Civil4 Rights
            Government               DiversityDefense Firm, 646 Lenape                          Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                     (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State
           Road
                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
           Bechtelsville, PA 19505, (888) 202-9297 ext 81114                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                         310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability       690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument               Liability                  367 Health Care/                                                                                   400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment           Slander                        Personal Injury                                               820 Copyrights                   430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’              Product Liability                                             830 Patent                       450 Commerce
    152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
         Student Loans                 340 Marine                          Injury Product                                                    New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product                  Liability                                                     840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                     LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud             710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending            Act                                                                485 Telephone Consumer
    190 Other Contract                     Product Liability           380 Other Personal          720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability     360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                          Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation            ✖ 440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                    441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                  443 Housing/                        Sentence                                                          or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations              530 General                                                      871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                      462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                    3      Remanded from            4 Reinstated or              5 Transferred from        6 Multidistrict                   8 Multidistrict
      Proceeding             State Court                            Appellate Court            Reopened                     Another District            Litigation -                    Litigation -
                                                                                                                            (specify)                   Transfer                        Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          28 U.S.C. §§ 1331, 1343, 1346, 2201, 2202, 2412 and 5 U.S.C. § 702
VI. CAUSE OF ACTION Brief description of cause:
                                          Challenge to constitutionality of 18 USC §§ 922(g)(3), (d)(3), and implementing regulations to medical marijuana ID holders
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                         JURY DEMAND:                      Yes      ✖ No

VIII. RELATED CASE(S)
                                            (See instructions):
      IF ANY                                                         JUDGE                                                              DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
1/19/2024
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                   APPLYING IFP                                   JUDGE                           MAG. JUDGE
           Case 1:24-cv-00021-CB Document 1-1 Filed 01/23/24 Page 2 of 3


                                    JS 44A REVISED June, 2009
          IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                         THIS CASE DESIGNATION SHEET MUST BE COMPLETED

PART A
     This case belongs on the (     Erie        Johnstown          Pittsburgh) calendar.
1. ERIE CALENDAR - If cause of action arose in the counties of Crawford, Elk, Erie,
     Forest, McKean. Venang or Warren, OR any plaintiff or defendant resides in one of said
     counties.
2. JOHNSTOWN CALENDAR - If cause of action arose in the counties of Bedford, Blair,
     Cambria, Clearfield or Somerset OR any plaintiff or defendant resides in one of
     said counties.

3. Complete if on ERIE CALENDAR: I certify that the cause of action arose in Warren
    County and that the Plaintiff Greene     resides in Warren            County.

4. Complete if on JOHNSTOWN CALENDAR: I certify that the cause of action arose in
                     County and that the           resides in                   County.

PART B (You are to check ONE of the following)
1.       This case is related to Number                 . Short Caption             .
2.       This case is not related to a pending or terminated case.

DEFINlTIONS OF RELATED CASES:
CIVIL: Civil cases are deemed related when a case filed relates to property included in
another suit or involves the same issues of fact or it grows out of the same transactions
as another suit or involves the validity or infringement of a patent involved in another
suit EMINENT DOMAIN: Cases in contiguous closely located groups and in common ownership
groups which will lend themselves to consolidation for trial shall be deemed related.
HABEAS CORPUS & CIVIL RIGHTS: All habeas corpus petitions filed by the same individual
shall be deemed related. All pro se Civil Rights actions by the same individual shall be
deemed related.

PARTC
I. CIVIL CATEGORY (Select the applicable category).
   1.     Antitrust and Securities Act Cases
   2.     Labor-Management Relations
   3.     Habeas corpus
   4.     Civil Rights
   5.     Patent, Copyright, and Trademark
   6.     Eminent Domain
   7.     All other federal question cases
   8.      All personal and property damage tort cases, including maritime, FELA,
          Jones Act, Motor vehicle, products liability, assault, defamation, malicious
            prosecution, and false arrest
   9.      Insurance indemnity, contract and other diversity cases.
  10.      Government Collection Cases (shall include HEW Student Loans (Education),
                V A    0verpayment, Overpayment of Social Security, Enlistment
                Overpayment (Army, Navy, etc.),    HUD Loans, GAO Loans (Misc. Types),
                Mortgage Foreclosures, SBA Loans, Civil Penalties and Coal Mine
                Penalty and Reclamation Fees.)



     I certify that to the best of my knowledge the entries on this Case Designation
     Sheet are true and correct


     Date: 1/19/2024
                                                              ATTORNEY AT LAW

NOTE: ALL SECTIONS OF BOTH )2506 MUST BE COMPLETED BEFORE CASE CAN BE PROCESSED.
JS 44 Reverse (Rev. 10/20)   Case 1:24-cv-00021-CB Document 1-1 Filed 01/23/24 Page 3 of 3
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
